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 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                   EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                     )   1:04-CR-5196 OWW
                                                   )
12                            Plaintiff,           )   ORDER ON GOVERNMENT’S
                                                   )   MOTION TO DISMISS
13                                                 )   (Fed. R. Crim. P. 48 (a))
                               v.                  )
14                                                 )
     SALVADOR ALVAREZ,                             )
15                                                 )
                              Defendant.           )
16                                                 )
                                                   )
17
                                                  ORDER
18
            IT IS HEREBY ORDERED that the indictment and superseding indictments in the above-
19
     entitled case be dismissed without prejudice as to Salvador Alvarez and that any conditions of
20
     release be exonerated.
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     Dated: November 8          , 2005                     /s/ OLIVER W. WANGER
22                                                         Honorable Oliver W. Wanger
                                                           U.S. District Judge
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